         Case 6:21-cv-00147-ADA Document 15 Filed 04/22/21 Page 1 of 26




                      IN THE UNITED STATES DISTRICT COURT
                       FOR THE WESTERN DISTRICT OF TEXAS
                                 WACO DIVISION

MATCH GROUP, LLC,                      §
                                       §
         Plaintiff,                    §
                                       § Civil Action No. 6:21-cv-00147-ADA
v.                                     §
                                       § JURY TRIAL DEMANDED
MUZMATCH LIMITED                       §
                                       §
         Defendant.                    §

                  PLAINTIFF MATCH GROUP, LLC’S RESPONSE TO
              DEFENDANT MUZMATCH LIMITED’S MOTION TO DISMISS




102237174.1                            -i-
          Case 6:21-cv-00147-ADA Document 15 Filed 04/22/21 Page 2 of 26




                                                 TABLE OF CONTENTS


I.      INTRODUCTION ............................................................................................................. 1
II.     THE ASSERTED PATENTS RECITE PATENT-ELIGIBLE SUBJECT
        MATTER ........................................................................................................................... 2
        A.         The Asserted Patents Embody Match’s Innovations. ............................................ 3
        B.         The Court Applies the Two-Step Alice Process to Evaluate Subject-Matter
                   Eligibility on a Motion to Dismiss. ........................................................................ 5
        C.         The ’854 Patent’s Claims Are Subject-Matter Eligible. ........................................ 6
                   1.         The ’854 Patent’s Claims Are Directed to an Improved
                              Matchmaking User Interface, Not an Abstract Idea. ................................. 6
                   2.         Muzmatch Fails to Establish the Lack of an Inventive Concept. ............ 13
        D.         The ’811 Patent’s Claims Are Subject Matter Eligible. ...................................... 16
                   1.         The ’811 Patent’s Claims Are Directed to an Improved
                              Matchmaking User Interface, Not an Abstract Idea. ............................... 16
                   2.         Muzmatch Fails to Establish the Lack of an Inventive Concept. ............ 17
        E.         The ’023 Patent’s Claims Are Subject Matter Eligible. ...................................... 18
                   1.         The ’023 Patent’s Claims Are Directed to an Improved
                              Matchmaking User Interface, Not an Abstract Idea. ............................... 18
                   2.         Muzmatch Fails to Establish the Lack of an Inventive Concept. ............ 19
        F.         Claim Constructions from Bumble Do Not Change the Analysis........................ 20
        G.         The Asserted Patents Do Not Present Any Significant Preemption
                   Concerns. ............................................................................................................. 20
III.    CONCLUSION ................................................................................................................ 21




 102237174.1                                                       -ii-
            Case 6:21-cv-00147-ADA Document 15 Filed 04/22/21 Page 3 of 26




                                               TABLE OF AUTHORITIES

                                                                                                                               Page(s)

Cases

Aatrix Software, Inc. v. Green Shades Software, Inc.,
   882 F.3d 1121 (Fed. Cir. 2018)......................................................................................5, 14, 20

Aatrix Software, Inc. v. Green Shades Software, Inc.,
   890 F.3d 1354 (Fed. Cir. 2018) .........................................................................................14, 15

Alice Corp. Pty. v. CLS Bank Int’l,
    134 S. Ct. 2347 (2014) .......................................................................................................2, 4, 5

Apple, Inc. v. Ameranth, Inc.,
   842 F.3d 1229 (Fed. Cir. 2016)................................................................................................19

Bascom Glob. Internet Servs., Inc. v. AT&T Mobility LLC,
   827 F.3d 1341 (Fed. Cir. 2016)................................................................................................15

Berkheimer v. HP Inc.,
   881 F.3d 1360 (Fed. Cir. 2018)......................................................................................5, 10, 15

Core Wireless Licensing S.A.R.L. v. LG Elecs., Inc.,
   880 F.3d 1356 (Fed. Cir. 2018)................................................................1, 6, 7, 8, 9, 10, 11, 18

Data Engine Techs. LLC v. Google LLC,
   906 F.3d 999 (Fed. Cir. 2018)..................................................................1, 2, 5, 6, 8, 10, 13, 18

Enfish, LLC v. Microsoft Corp.,
   822 F.3d 1327 (Fed. Cir. 2016)........................................................................................5, 6, 12

Finjan, Inc. v. Blue Coat Sys., Inc.,
   879 F.3d 1299 (Fed. Cir. 2018)................................................................................................19

Match Grp., LLC v. Bumble Trading Inc.,
   No. 6:18-CV-00080-ADA, (W.D. Tex.) ......................................................1, 5, 8, 9, 16, 18, 20

Mayo Collab. Servs. v. Prometheus Labs., Inc.,
  566 U.S. 66 (2012) .....................................................................................................................6

McRO, Inc. v. Bandai Namco Games Am., Inc.,
  837 F.3d 1299 (Fed. Cir. 2016)..........................................................................................11, 12

Move, Inc. v. Real Est. All. Ltd.,
  721 F. App’x 950 (Fed. Cir. 2018) ......................................................................................2, 17

  102237174.1                                                     -iii-
              Case 6:21-cv-00147-ADA Document 15 Filed 04/22/21 Page 4 of 26




Phillips v. AWH Corp.,
   415 F.3d 1303 (Fed. Cir. 2005)................................................................................................13

Trading Techs. Int’l, Inc. v. CQG, Inc.,
   675 F. App’x 1001 (Fed. Cir. 2017) ..........................................................................7, 8, 11, 13

X2Y Attenuators, LLC v. Int’l Trade Comm’n,
   757 F.3d 1358 (Fed. Cir. 2014)..................................................................................................3




102237174.1
                                                              - iv -
             Case 6:21-cv-00147-ADA Document 15 Filed 04/22/21 Page 5 of 26




I.         INTRODUCTION

           This Court has already determined:

                  [T]he claims here are directed to a new user interface . . . for a dating
                  application. . . . These innovations improve existing interface technology.
                  This improvement has been a commercial success because it has increased
                  ‘the speed of a user’s navigation through [potential matches],’ which is
                  apparently important to a substantial number of people who are interested
                  in meeting other people via the internet.

Match Grp., LLC v. Bumble Trading Inc., No. 6:18-CV-00080-ADA, 2018 U.S. Dist. LEXIS

235353, at *18 (W.D. Tex. Dec. 18, 2018) (“Bumble Order”) (quoting Core Wireless Licensing

S.A.R.L. v. LG Elecs., Inc., 880 F.3d 1356, 1363 (Fed. Cir. 2018) (modification in original)).1

Although this Court previously denied a motion almost identical to Muzmatch’s motion,

Muzmatch makes no attempt to distinguish its motion or justify a different result. Muzmatch does

not even mention the Bumble Order, while simply recycling Bumble’s Motion (verbatim in several

instances). It also fails to mention—let alone distinguish—three cases the Court found persuasive

in determining that the ’023 and ’811 Patents’ claims are patent-eligible. See Bumble Order, at

*16 (“[T]he Court finds the decisions in Core Wireless, Trading Technologies, and Data Engine

to be persuasive. The claims here are directed to a new user interface—in this case, for a dating

application.”). In short, Muzmatch fails to provide any new argument or explain why the Court

should change its prior decision.

           As the Court already determined, the ’023 and ’811 Patents’ claims (see Exs. A, B) are

directed to an improved user interface, not an abstract idea. Similarly, the ’854 Patent’s claims

(see Ex. C) are not abstract. Therefore, the Court should deny Muzmatch’s motion.



1
 In the Bumble litigation, the Court only considered the claims of U.S. Patent No. 9,959,023 (the
“’023 Patent”) and 9,733,811 (the “’811 Patent). However, the subject matter of U.S. Patent No.
10,203,854 (the “’854 Patent”) is similar enough to be eligible for many of the same reasons.

    102237174.1                                   -1-
              Case 6:21-cv-00147-ADA Document 15 Filed 04/22/21 Page 6 of 26




II.      THE ASSERTED PATENTS RECITE PATENT-ELIGIBLE SUBJECT MATTER

         The Court is familiar with the Asserted Patents’ subject matter—it previously ruled the

’023 and ’811 Patents’ claims are patent eligible. And unlike the many “aspirational” software-

based patents courts have invalidated in the wake of the Supreme Court’s Alice decision, see Move,

Inc. v. Real Est. All. Ltd., 721 F. App’x 950, 954 (Fed. Cir. 2018), the asserted claims recite a

specific physical and visual interface protocol that improves user experience in matchmaking apps,

facilitates faster decision-making, and thereby drives user engagement. See Data Engine Techs.

LLC v. Google LLC, 906 F.3d 999, 1008 (Fed. Cir. 2018) (holding claims reciting “highly intuitive,

user-friendly interface with familiar notebook tabs” non-abstract).

         Indeed, far from seeking an aspirational patent, the inventors built the Tinder app from

their own innovations, and it now has over 66 million average monthly active users.2 It is no

coincidence that after pioneering this market, Tinder continues to dominate it and faces copying

from competitors like Muzmatch.        This would not occur if—as Muzmatch contends—the

innovations embodied in the Tinder app was merely “conventional matchmaking on a computer.”

         And while Muzmatch now claims Match’s patented inventions are merely abstract ideas

combining conventional elements, it identifies no service—including its own—with those

elements before the Tinder app’s release. Moreover, the market associates the patented features

so strongly with Tinder that prior to Match’s suit, Muzmatch billed itself as the “Muslim Tinder”

as a shorthand to tell consumers it uses Tinder’s inventions.3 Just as the Court has, Muzmatch and

the market have recognized, and praised, Tinder’s innovative and groundbreaking features.


2
 See Reuters, Match tops sales estimates as Tinder, Hinge keep sparks flying (Feb. 2, 2021),
https://www.reuters.com/article/us-match-group-results-idUSKBN2A22V1.
3
  See WFTV, Muslim Tinder sued by Match Group for patent-infringement (Feb. 18, 2021),
https://worldfuturetv.com/2021/02/18/muslim-tinder-sued-by-match-group-for-patent-
infringement/.

102237174.1
                                               -2-
              Case 6:21-cv-00147-ADA Document 15 Filed 04/22/21 Page 7 of 26




         A.       The Asserted Patents Embody Match’s Innovations.

         Match affiliates, including Match.com, pioneered online dating beginning in 1994. In

2007, well before Tinder was conceived, three Match.com employees came up with new ideas

related to matchmaking services. In December 2007, Match.com filed a provisional application

(the “Match.com Application”) on the new ideas, disclosing two primary innovations: (1)

importing information from social networks into the system, e.g., to increase the ease of signing

up for service; and (2) calculating a “score” for users based on various considerations and

improving search results by taking those scores into account. See Ex. D at 32:23-25; 39:30-40:4.

It also described improvements such as receiving “positive” and “negative” preferences

concerning users and considering such “preferences” when showing search results. See id. at

36:10-25 (considering if “Match result entity has expressed a preference for the user”); id. at 37:13-

18 (removing entities for which user has expressed negatives preferences). The Match.com

Application ultimately became U.S. Patent No. 8,566,327. See Ex. E, ’327 Patent.

         In 2012, Tinder was born out of a Match-affiliated incubator. With its double-blind

mutual-opt-in system, performed on a specific, draggable-card-based user interface, the Tinder app

changed the online-dating world, and has been described as “famous” and “iconic.” Complaint at

¶¶ 26, 28, 29. After the Tinder app’s release, Match protected these groundbreaking innovations.

         Because (1) the Tinder app used innovations from the Match.com Application, and (2)

Match.com and Tinder were affiliates, Match prosecuted the Tinder innovations as a

continuation-in-part (“CIP”) of the Match.com Application. While the CIP’s claims include

innovations from the Match.com Application, they are directed to new material. 4 See X2Y



4
 During prosecution, one of the inventors swore behind 2012 prior art. This highlights that the
Asserted Patents’ claims are directed to innovations disclosed in the new material. Ex. F at 93-97.

102237174.1
                                                -3-
              Case 6:21-cv-00147-ADA Document 15 Filed 04/22/21 Page 8 of 26




Attenuators, LLC v. Int’l Trade Comm’n, 757 F.3d 1358, 1366 (Fed. Cir. 2014) (“[S]ome subject

matter of a CIP application is necessarily different . . . .”). The CIP focuses on improving prior-art

matchmaking systems in at least two relevant ways: (1) not allowing communication unless both

sides indicate a positive preference; and (2) using a card-based interface characterized in part by a

specific gesture, denominated as a “swipe.”5 See, e.g., ’811 Patent at 22:57-60; 21:54-22:1; Figs.

8, 9. Examples are shown in Figs. 8 and 10:




         The Asserted Patents’ claims all require the dragging gesture’s use. The ’811 Patent’s

claims also require preventing communication between users unless both express positive

preferences. And the ’854 Patent’s claims require operation “without allowing communication”

unless users mutually expressed positive preferences.

         The ’811, ’023, and ’854 Patents issued on August 15, 2017; May 1, 2018; and February

12, 2019, respectively. In each case, the Patent Office was guided by Alice and a significant body

of Federal Circuit case law interpreting that decision. The ’023 and ’854 Patents also overcame

subject-matter-eligibility rejections. See Ex. G at 87-94 (rejecting prior versions of claims under


5
  Because Tinder pioneered use of this gesture in connection with dating applications, its name for
the gesture also became uniquely associated with Tinder; it is now a registered trademark in the
dating-app context. To avoid confusion between use of the SWIPE trademark and the gesture
claimed in the patents, when not quoting from the patents, this brief refers to the gesture by the
generic “dragging gesture.”

102237174.1
                                                -4-
              Case 6:21-cv-00147-ADA Document 15 Filed 04/22/21 Page 9 of 26




§ 101); see Ex. H at 77-85 (same). And of course, the ’811 Patent and the ’023 Patent already

survived a motion to dismiss.6

         B.       The Court Applies the Two-Step Alice Process to Evaluate Subject-Matter
                  Eligibility on a Motion to Dismiss.

         The first step in evaluating subject-matter eligibility is determining whether claims are

directed to a patent-ineligible concept like an abstract idea. Alice Corp. Pty. v. CLS Bank Int’l,

134 S. Ct. 2347, 2355 (2014). If the claims are not directed to an ineligible concept, the inquiry

ends—the claims are eligible. Enfish, LLC v. Microsoft Corp., 822 F.3d 1327, 1339 (Fed. Cir.

2016). If the claims are “directed to” an ineligible concept like an abstract idea, the Court then

considers whether the claim’s limitations—alone or as an ordered combination—contain an

“inventive concept” applied to the identified idea to which the claims are directed—i.e., whether

the claims contain “something more” than what was routine or conventional in the industry at the

time of the invention. Alice, 134 S. Ct. at 2355.

         Factual determinations are called for in both steps. See Data Engine, 906 F.3d at 1008

(relying on newspaper articles at step 1); Aatrix Software, Inc. v. Green Shades Software, Inc., 882

F.3d 1121, 1128 (Fed. Cir. 2018) (“Aatrix Software I”) (describing procedure for evaluating

pleadings at step 2). It is the defendant’s burden to establish all pertinent facts by clear and

convincing evidence. Berkheimer v. HP Inc., 881 F.3d 1360, 1368 (Fed. Cir. 2018). And it may

rely only on the complaint and evidence capable of judicial notice. Aatrix Software I, 882 F.3d at

1128.




6
    See Bumble Order.

102237174.1
                                               -5-
          Case 6:21-cv-00147-ADA Document 15 Filed 04/22/21 Page 10 of 26




         C.     The ’854 Patent’s Claims Are Subject-Matter Eligible.

         While Bumble’s motion was limited to the ’023 and ’811 Patents, and Muzmatch’s motion

includes the ’854 Patent, it merely recycles Bumble’s arguments for each Asserted Patent.

Accordingly, the analysis applied to the ’023 and ’811 Patents also applies to the ’854 Patent.

                1.      The ’854 Patent’s Claims Are Directed to an Improved Matchmaking User
                        Interface, Not an Abstract Idea.

         Determining whether a claim is directed to an abstract idea is a “meaningful” step. Enfish,

822 F.3d at 1335. It is not sufficient that claims “involve” an abstract idea because “all inventions

at some level embody, use, reflect, rest upon, or apply . . . abstract ideas.” Id. (quoting Mayo

Collab. Servs. v. Prometheus Labs., Inc., 566 U.S. 66, 71 (2012)). A claim directed to a

computer-device improvement is patent eligible. Core Wireless Licensing S.A.R.L. v. LG Elecs.,

Inc., 880 F.3d 1356, 1362 (Fed. Cir. 2018). To make this determination, courts typically look to

the claims and intrinsic evidence, including prosecution history. See, e.g., id. at 1362-63; Data

Engine, 906 F.3d at 1008 n.2.

         The ’854 Patent’s claims recite “an interface” that presents a “graphical representation of

a [] potential match,” with a processor to detect a “gesture,” where the gesture is associated with a

“positive preference indication.” See, e.g., Claim 4. In response to detecting the gesture, the

interface both presents a second graphical representation of a profile and removes the first. Id.

The claims further recite “allowing communication” only between two users who mutually

expressed a preference for one another and “without allowing communication” if not. Id.

         Thus, the ’854 Patent’s claims are directed to a non-abstract improvement in user-interface

technology for particular use in a matchmaking app and provide an easy-to-navigate system that

allows and encourages users to make more efficient binary preference choices in using

computer-based dating systems. Complaint at ¶¶ 152-156; 96-100; 121-125. By use of this


102237174.1
                                                -6-
          Case 6:21-cv-00147-ADA Document 15 Filed 04/22/21 Page 11 of 26




specific physical and visual interface protocol, it also requires users to make choices before moving

on, rather than deferring their choices—a protocol that promotes speed of decision-making and

drives user engagement by facilitating more matches. This is not abstract. See Trading Techs.

Int’l, Inc. v. CQG, Inc., 675 F. App’x 1001, 1005 (Fed. Cir. 2017) (“Abstraction is avoided or

overcome when a proposed new application or computer-implemented function is not simply the

generalized use of a computer as a tool to conduct a known or obvious process, but instead is an

improvement to the capability of the system as a whole.”).

         The Federal Circuit has repeatedly confirmed that concrete improvements to user interfaces

are patent-eligible. For example, in Core Wireless—absent from Muzmatch’s motion despite the

Court’s prior reliance on same—the Federal Circuit addressed a claim related to a menu display.

880 F.3d 1356. The menu included an “application summary” that could be reached “directly from

the menu” containing data from one or more applications. Id. at 1359. The application summary

could then be used to launch the application and “enable the selected data to be seen.” Id.

         The inventors of the Core Wireless patent did not invent menus, summaries, applications,

launching applications, data, or summarizing data. But the Federal Circuit concluded that the

claims were eligible at step one because the combination of elements claimed “an improved user

interface for electronic devices, particularly those with small screens.” Id. at 1362. While the

claims could be easily characterized as directed to the concept of an “application data summary

menu” reachable from a main menu, this was not an ineligible idea because it was not abstract.

Instead, it solved interface-based problems. Prior interfaces could “seem slow, complex and

difficult to learn,” as users had to “drill down through many layers to get to desired data” and were

required to “scroll around and switch views” to find what they needed. Id. at 1363. The claimed




102237174.1
                                                -7-
          Case 6:21-cv-00147-ADA Document 15 Filed 04/22/21 Page 12 of 26




menu, in contrast, improved “the speed of a user’s navigation through various views and windows”

by disclosing a “specific manner of displaying a limited set of information to the user.” Id.

         The Federal Circuit found another user-interface claim eligible at step 1 in Trading

Technologies, 675 F. App’x 1001.         The claims recited “a method for displaying market

information” related to commodity trading. Specifically, the claims recited an interface that

displayed dynamic quantity bid and ask information alongside static pricing information so traders

could better trade commodities more quickly, while ensuring that their trades were made at their

preferred price. Id. at 1003. Again, the inventors did not invent static pricing, dynamic quantities,

bid prices, or ask prices. But the interface was a claimed improvement over prior art, where price

could change based on market conditions while the trade was being executed. Id. at 1006.

         The Federal Circuit reiterated these principles in Data Engine, 906 F.3d 999, concluding

that an improvement in spreadsheet interfaces was subject matter eligible. The inventions recited

the addition of “notebook tabs” to existing three-dimensional spreadsheet interfaces to navigate

between pages. Id. at 1004-05. Despite the fact that three-dimensional spreadsheets existed and

“humans [had] long used tabs to organize information,” (id. at 1011), the Federal Circuit held that

the representative claim recited a patentable improvement to user interface technology.

Specifically, it solved problems in existing interface technology by providing a “highly intuitive,

user-friendly interface with familiar notebook tabs for navigating the three-dimensional work-

sheet environment” (id. at 1008), and was therefore patent eligible. In fact, the notebook tab

improvement solved computer-based problems specifically because “it include[d] user-familiar

objects, i.e., paradigms of real-world objects which the user already knows.” Id. at 1003.

         The Court already recognized in Match v. Bumble that the ’023 and ’811 Patents’ claims

are indistinguishable from those in Core Wireless, Trading Technologies, and Data Engine. See



102237174.1
                                                -8-
          Case 6:21-cv-00147-ADA Document 15 Filed 04/22/21 Page 13 of 26




Bumble Order, at *17-19. And like the ’023 and ’811 Patents, the ’854 Patent claims a system

employing an interface with graphical representations of online dating profiles.7 See, e.g., claim

7 (reciting a “computer implemented method of profile matching” that causes the display of

matches in a particular way); claim 4 (reciting “a system for profile matching,” comprising “an

interface” presenting graphics in a particular way). It claims indicating preferences by use of a

“swiping gesture” and removing one profile and showing another profile after receiving a gesture.

See, e.g., claim 4 (“[C]ause the graphical user interface to display a graphical representation of a

second potential match. . . .”). It thus recites non-abstract subject matter in the same manner as

the ’023 and ’811 Patents. The ’854 Patent claims narrower functionality and is more specific

about the flow of the improved interface and system than the ’023 Patent. For example, the ’854

Patent claims that a removed profile will reappear in response to a determination to “allow []

communicat[ion]”—which occurs only after both users corresponding to the profiles have

expressed a positive preference. See claim 4. This is a specific arrangement of screens and

information, engaged with in a particular way, to make a better computer-based matchmaking

system—a system that has been immensely successful.

         Rather than a user viewing potential matches by scrolling through a list, the claimed

interface provides a different improved interface.               Expressing preferences by a “swiping

gesture”—combined with removing a graphical representation of a match and displaying another

match in response to detecting the gesture—improves existing interface technology to increase

“the speed of a user’s navigation through [potential matches].” Core Wireless, 880 F.3d 1363;

Complaint at ¶¶ 153-156; 122-125; 97-100. As in Core Wireless, these advantages over prior user


7
  Unlike the ’023 Patent, the ’811 and ’854 Patents’ claims do not require the graphical representations to be
“cards.” The claims also do not require the “swiping gesture” be in the “right-swiping direction.” Instead, the
claims recite that “swiping gesture[s]” corresponding to positive and negative preferences must be different from
one another. The claims are broader in this respect but narrower in others.

102237174.1
                                                      -9-
          Case 6:21-cv-00147-ADA Document 15 Filed 04/22/21 Page 14 of 26




interfaces are particularly advantageous in small-screen or mobile devices, where scroll-based

interfaces can be difficult to navigate. Moreover, like Data Engine, the claims’ graphical

representation of a match and acting on the graphical representation in a particular way facilitates

ease of use by “including user-familiar objects . . . which the user already knows how to use.”

Data Engine, 906 F.3d at 1003.8 These claims recite eligible inventions.

         Muzmatch contends that the claims merely relate to the idea of “connecting people with

potential matches based on their mutual attraction to each other, or not connecting them because

of the lack of mutual attraction.” Dkt. No. 11 at 5. But Muzmatch’s arguments are flawed because

the “directed to” inquiry is more than simply finding a catch-phrase with which to describe

concepts in the claims. To show ineligibility, “[i]t is not enough . . . to merely trace the invention

to some real-world analogy.” Data Engine, 906 F.3d at 1011. Yet that is all Muzmatch attempts.

It makes no sense to say the claims are directed to only connecting people based on mutual

attraction when that idea has no independent utility outside of the technological field. The claims

are eligible because they apply the general concept of connecting people based on mutual

attraction—with specific additional limitations omitted by Muzmatch’s hypothetical idea—in a

particular way. See id. at 1003 (application of notebook tabs concept to spreadsheets non-abstract).

         Muzmatch’s formulation of the alleged idea also fails to capture critical claim limitations

and ignores the inventive concept itself. For one, the claims do not recite “connecting people with

potential matches based on their mutual attraction to each other,” but rather a specific arrangement

of screens and information, engaged with in a particular way. The claims recite a “gesture” that

causes specific changes in graphical representations of profiles and prevents or allows


8
 There is also no legitimate dispute that these improvements are recited in the claims. See
Berkheimer v. HP Inc., 881 F.3d 1360, 1370 (Fed. Cir. 2018) (distinguishing between benefits
achieved by limitations in the claims and benefits merely described in the specification).

102237174.1
                                                - 10 -
          Case 6:21-cv-00147-ADA Document 15 Filed 04/22/21 Page 15 of 26




communication with represented users. The specification describes the relevant gesture as a

“touch input” performed “by moving a finger or other suitable object across the screen.” ’854

Patent at 19:35-3; 19:35-39; 21:66-22:3. This physical interaction is narrower than a matchmaker

going through a stack of cards with a client, is native to the claims’ technology, and—in the context

of the claimed system—facilitates more efficient decision-making. The claims further require

displaying a second profile graphic and removing the first in response to the gesture. Again, this

is narrower than simply looking at physical cards one at a time because the claimed interface

requires a preference indication on each profile, limiting the ability to reconsider preferences, and

accelerating movement to new profiles. This improved interface drives user engagement and

facilitates more matches by allowing quick preference indications and precluding deferred

indications, and therefore, it is not abstract.

         Muzmatch incorrectly assumes that anything that could be performed by a human is

abstract. But the Federal Circuit has rejected this contention: “[P]rocesses that automate tasks

that humans are capable of performing are patent eligible if properly claimed.” McRO, Inc. v.

Bandai Namco Games Am., Inc., 837 F.3d 1299, 1313 (Fed. Cir. 2016). A librarian could show a

patron a summary of data from other sources and then, upon request, take the patron to the sources

themselves. Cf. Core Wireless, 880 F.3d at 1362-63. A commodities broker could, with a pencil

and paper, calculate bid prices, ask prices, and various quantities and display them in a manner in

which the broker changed the quantities but did not change the prices. Cf. Trading Techs., 675 F.

App’x at 1003. An animator could use rules rather than subjective considerations to lip sync

animations. Cf. McRO, Inc., 837 F.3d at 1313. And a matchmaker could give a client a stack of

cards with potential matches, require the client to move his finger across the cards one at a time,

and immediately remove a card after it had been dragged to the right. But why? There is no



102237174.1
                                                  - 11 -
          Case 6:21-cv-00147-ADA Document 15 Filed 04/22/21 Page 16 of 26




evidence that this has been done—and doing so would serve no purpose. See McRO, 837 F.3d at

1314 (“Defendants provided no evidence that the process previously used by animators is the same

as the process required by the claims.”).           Meanwhile, in a computer-based matchmaking

environment, the claimed invention has specific tangible benefits.

         Muzmatch also contends the claims must be directed to an abstraction rather than improved

interface technology because the specification does not expressly describe a technical problem to

which it proposes a solution. See Dkt. No. 11 at 8-12. This is a red herring. While express

recitations of computer-specific benefits in the specification exist in some eligibility cases, they

are not required. And the intrinsic record of the ’854 Patent is just as compelling as an express

acknowledgement that the claims are directed to the above-mentioned benefits.

         As discussed, Match.com filed the Match.com Application, which discloses a particular

matchmaking system. Those inventions and their eligibility are not at issue. In 2012, the Tinder

inventors created the groundbreaking Tinder app and filed an application for its underlying

innovations. They added new material improving upon the preexisting Match.com system—by

improving the interface with specific interactions with graphical representations of potential

matches, which is recited in the ’854 Patent’s claims. These improvements are not routine or

conventional limitations “added post-hoc to a fundamental practice.” Enfish, 822 F.3d at 1340.

They were specific improvements built into and embodied by an extremely successful commercial

application. Further, the additions are significant distinctions over the prior art. Indeed, after

rejecting the ’854 Patent’s claims for subject matter eligibility reasons, the Examiner expressly

concluded that the closest prior art failed to teach, inter alia, “the first user indicates a first positive

preference associated with the graphical representation of the second user on the graphic user

interface . . . wherein the first gesture comprises a first swiping gesture; allow the first user to



102237174.1
                                                  - 12 -
          Case 6:21-cv-00147-ADA Document 15 Filed 04/22/21 Page 17 of 26




communicate with the second user in response to . . . the first positive preference indication

regarding the second user and a second user expressing a positive preference regarding the first

user . . .” Ex. H at 13-14.; see also Data Engine, 906 F.3d at 1007-08 (comparing claims to prior

art). The specification need not discuss every benefit flowing from this new matter because its

purpose is to “teach and enable those of skill in the art to make and use the invention” (Phillips v.

AWH Corp., 415 F.3d 1303, 1323 (Fed. Cir. 2005). And the prosecution history confirms the ’854

Patent is directed to that new interface and related interaction, not an abstraction related to a

matchmaking system. See Ex. H at 77-85.

         Finally, Muzmatch complains that the ’854 Patent fails to “convey a specific technological

improvement of computer functionality.” Dkt. No. 11 at 9. However, the claims do not simply

recite “matchmaking,” but provide an improved interface and user experience.9 For example, they

recite a tangible improvement over search and scroll-based matchmaking interfaces similar to the

one disclosed in the Match.com App. See, e.g., Ex. D at Figs. 1E, 1F. The claims recite concrete

improvements to graphical user interfaces in dating applications and are not abstract.10

                 2.      Muzmatch Fails to Establish the Lack of an Inventive Concept.

         Even inventions “directed to” abstract ideas are patent eligible if they contain limitations

that “involve more than the performance of well-understood, routine, and conventional activities

previously known to the industry.” Aatrix I, 882 F.3d at 1128 (quotations and citations omitted).


9
  To argue that any patent related to matchmaking is necessarily invalid, Muzmatch makes a passing reference
to a few cases related to the alleged abstractness of “matchmaking.” See Dkt. No. 11 at 5-6. None of these cases
address interface improvements, but instead address claims that recite an exchange of information and a generic
analysis of that information on a computer.
10
  The ’854 Patent also describes another specific technological improvement to a known system: a way of
avoiding unwanted communications. In prior systems, users could have a “large number of unwanted
communication requests [that] can become a nuisance to the user.” ’854 Patent at 1:66-67. This problem is
solved by allowing “initial communication” only between two users who mutually expressed a preference for
one another and “prevent[ing] communication” if not. This allows users to “avoid browsing, deleting, or
responding to unwanted messages.” Id. at 23:7-9; see Trading Techs. 675 F. App’x at 1005.

102237174.1
                                                    - 13 -
          Case 6:21-cv-00147-ADA Document 15 Filed 04/22/21 Page 18 of 26




Unless contradicted by the patent specification itself, the Court must accept any factual allegations

about the nonconventionality of a limitation or combination of limitations as true. Aatrix I, 882

F.3d at 1125; Aatrix Software, Inc. v. Green Shades Software, Inc., 890 F.3d 1354, 1356 (Fed. Cir.

2018) (“Aatrix II”) (Moore, J., concurring in denial of petition for rehearing en banc, joined by

Dyk., J., O’Malley, J., Taranto, J., and Stoll, J.) (reasoning that a pleading-based dismissal is

appropriate only where specification admits an inventive concept was conventional).

         As discussed, the asserted claims include limitations beyond Muzmatch’s posited idea.

The graphical representation of a potential match must be removed and replaced with another

graphical representation in light of a preference indication, not simply a matchmaker setting a card

to the side. The preference must be one detected by a “swiping gesture”—which the specification

makes clear is uniquely associated with touch screens—not simply a move to the right. This

combination of limitations improves on existing dating interface technology by allowing and

encouraging “users to sift through more information, more quickly than previous interfaces

addressing similar binary choice decisions” and thereby “revolutionized the world of online

dating.” Complaint at ¶¶ 98; 125; 156. The claims limit second-guessing and foster quick

decision-making, which drives user engagement and improves the system. According to the

Complaint, these improvements were non-conventional and non-routine at the time of the

invention, id. at ¶¶ 153-156; 122-125; 97-100—as Tinder’s (and Muzmatch’s) subsequent

astonishing success confirms. If the Court even proceeds to step 2 (which it should not), these

factual allegations end the Court’s inquiry.

         Muzmatch asks the Court to ignore established precedent in favor of its own proposed

standard.     Specifically, Muzmatch advocates for a retroactive requirement that, unless a

computer-related invention expressly describes the problems, solutions, and computer-based



102237174.1
                                               - 14 -
          Case 6:21-cv-00147-ADA Document 15 Filed 04/22/21 Page 19 of 26




benefits in its specification, it must be dismissed on the pleadings—regardless of whether those

problems, solutions, and computer-based benefits exist. See Dkt. No. 11 at 11-12. No such

requirement exists. But on a motion to dismiss, the Court is required to take all facts pleaded as

true and make reasonable inferences in Match’s favor. It is Muzmatch’s burden here to contradict

as a matter of law the pleaded facts. This can occur only where the specification admits that an

alleged combination is merely routine. See Aatrix II, 890 F.3d at 1356. Where, as here, the

specification is silent about the limitations’ inventiveness, the Court must credit the Complaint’s

well-pleaded facts. Id. The ’854 Patent does not indicate that an interface in which a user

expresses preferences via a dragging gesture on a card that is removed and replaced after the

gesture is detected was routine or conventional matchmaking interface technology.

         Muzmatch also contends that the claims cannot contain an inventive concept because the

dragging gesture was “known” in the prior art. Dkt. No. 11 at 11-12. This fails on two accounts.

First, “[t]he inventive concept inquiry requires more than recognizing that each claim element, by

itself, was known in the art.” Bascom Glob. Internet Servs., Inc. v. AT&T Mobility LLC, 827 F.3d

1341, 1350 (Fed. Cir. 2016). Second, it is not enough to point out that some particular gesture

may have existed on some screen in some piece of prior art. See Berkheimer, 881 F.3d at 1369

(“Whether a particular technology is well-understood, routine, and conventional goes beyond what

was simply known in the prior art.”). Regardless of whether software detected similar gestures on

touch screens, Muzmatch offers no evidence whatsoever that the ordered combination of

limitations that distinguishes the claimed invention existed in the prior art at all, much less that it

is used in a routine and conventional manner. Nor could it. The claims involve more than a

dragging gesture and moving cards to express preferences; they recite specific physical and visual




102237174.1
                                                - 15 -
          Case 6:21-cv-00147-ADA Document 15 Filed 04/22/21 Page 20 of 26




interactions with a matchmaking user interface. Even if directed to Muzmatch’s posited “idea,”

the claims still improve interface technology for the previously discussed reasons.

         D.     The ’811 Patent’s Claims Are Subject Matter Eligible.

         As mentioned, the Court already determined that the ’811 Patent’s claims are directed to

patent eligible subject matter:

         The ’811 Patent is eligible for many of the same reasons as the ’023 Patent. . . . [I]t
         describes a system employing an interface with graphical representations of online
         dating profiles. It describes indicating preferences by use of a “swiping gesture,”
         and . . . removing one profile and showing another profile after receiving such a
         gesture . . . The Court agrees that the ’811 Patent describes narrower functionality
         and more specifics about the flow of the improved interface and system.

Bumble Order, at *18-19. While the Court could now conclude otherwise, Muzmatch does not

make any new argument.

                1.      The ’811 Patent’s Claims Are Directed to an Improved Matchmaking User
                        Interface, Not an Abstract Idea.

         The ’811 Patent is eligible for many of the same reasons as the ’854 Patent. Like the ’854

Patent, it describes a system employing an interface with graphical representations of online dating

profiles. It claims indicating preferences using a dragging gesture and removing one profile and

showing another profile after receiving a gesture. See, e.g., claim 7 (“[A]utomatically cause the

interface to remove the presentation of the first potential match . . . and cause the interface to

present . . . a second potential match . . . .”). It thus recites non-abstract subject matter in the same

manner as the ’854 Patent. Like the ’854 Patent, the ’811 Patent describes narrower functionality

and more specifics about the flow of the improved interface and system. For example, the ’811

Patent recites that a removed profile will reappear in response to a determination to “enable

communication”—which occurs only after both users corresponding to the profiles have expressed

a positive preference. See claim 7. This is a specific arrangement of screens and information,



102237174.1
                                                 - 16 -
          Case 6:21-cv-00147-ADA Document 15 Filed 04/22/21 Page 21 of 26




engaged with in a particular way, to make a better computer-based matchmaking system—a

system that has been immensely successful.

         Like its allegations regarding the ’854 Patent, Muzmatch contends that the claims of the

’811 Patent are related to the idea of “connecting people with potential matches based on their

mutual attraction to each other, or not connecting them because of the lack of mutual attraction.”

Dkt. No. 11 at 5, 12. Again, although the claims may involve that idea at a general level, they are

not directed to it. Muzmatch’s highly generalized proposed idea was discussed and disclosed in

the Match.com Application. See Ex. D at 36:10-25. Given the claims here include the CIP

material, they are necessarily directed to something more or different than this highly generalized

mischaracterization. For the same reasons that the ’023 and ’854 Patents are directed to an

improved draggable one-at-a-time matchmaking interface that enables and encourages users to

make binary choices more quickly, the ’811 Patent recites an improved matchmaking system,

implemented via an improved matchmaking interface.11

                2.     Muzmatch Fails to Establish the Lack of an Inventive Concept.

         If the Court accepts Muzmatch’s arguments about what the ’811 Patent’s claims are

directed to, there is still an inventive concept in the claims. The limitations concerning the

draggable interface also exist in the ’811 Patent’s claims, including where profiles are removed

and replaced once a gesture is performed. And Match’s Complaint alleges that these limitations

provide computer-based improvements.         Complaint at ¶¶ 152-156; 96-100; 121-125.         The


11
  The Federal Circuit’s decision in Move, Inc. v. Real Estate Alliance Ltd., 721 F. App’x 950 (Fed.
Cir. 2018) does not support Muzmatch’s analysis. See Dkt. No. 11 at 16. The patentee alleged
that a “zoom feature” was an inventive concept in claims directed to the idea of collecting and
organizing information about available real estate properties and displaying the information on a
map. Id. at 957. But the zoom feature was merely an aspirational result; nothing about the feature
was described, and the notion of getting closer to or further away from something is anything but
computer-specific. The claims here are not of the aspirational, results-based type.

102237174.1
                                              - 17 -
          Case 6:21-cv-00147-ADA Document 15 Filed 04/22/21 Page 22 of 26




specification does not suggest the improvements are conventional—and they were not. At most,

the specification highlights the interface is a computer interface, which does not prove ineligibility.

         E.     The ’023 Patent’s Claims Are Subject Matter Eligible.

         Like the ’811 Patent, the Court also determined that the ’023 Patent’s claims are directed

to patent eligible subject matter:

         The Court agrees . . . that the claims of the ’023 Patent are indistinguishable from
         the claims in Core Wireless, Trading Technologies, and Data Engine. Like those
         eligible patent claims, the claims here are directed to a new user interface . . . for a
         dating application. The application is characterized by a “stack of cards,” that are
         “graphical representations of [] online dating profile[s],” and user preferences
         regarding those cards are detected by virtue of a “gesture,” where the “positive
         preference” gesture is determined by “detecting a right swiping direction.” When
         a user performs the gesture, the interface is modified to both show a new item of
         information and to automatically remove the first card. These innovations improve
         existing interface technology. This improvement has been a commercial success
         because it has increased “the speed of a user’s navigation through [potential
         matches],” which is apparently important to a substantial number of people who are
         interested in meeting other people via the internet.

Bumble Order, at *17-18 (internal citations omitted). Again, while the Court could now reach a

different conclusion, Muzmatch has not made any new argument.

                1.      The ’023 Patent’s Claims Are Directed to an Improved Matchmaking User
                        Interface, Not an Abstract Idea.

         The ’023 Patent is eligible for many of the same reasons as the ’854 and ’811 Patents. Like

the ’854 and ’811 Patents, it describes a system employing an interface with graphical

representations of online dating profiles. And as the Court recognized in Match v. Bumble, the

’023 Patent’s claims are indistinguishable from those in Core Wireless, Trading Technologies, and

Data Engine. For example, claim 1 recites a “method of navigating a user interface” and the

application is characterized by a “stack of cards,” that are “graphical representations of [] online

dating profile[s],” and user preferences regarding those cards are detected by virtue of a “gesture,”

where the “positive preference” gesture is determined by “detecting a right swiping direction.”


102237174.1
                                                  - 18 -
          Case 6:21-cv-00147-ADA Document 15 Filed 04/22/21 Page 23 of 26




When a user performs the gesture, the interface is modified to both show a new item of information

and to automatically remove the first. This invention improved existing interface technology.

Muzmatch fails to establish otherwise and merely contends the claims are directed to “looking

through a stack of profile cards one at a time and showing interest in a match by moving a card to

the right.” Dkt. No. 11 at 16-17. As explained with respect to the ’811 and ’854 Patents, this is

wrong.

         Further, Muzmatch complains that the ’023 Patent fails to “‘claim a particular way of

programming or designing the software’ to perform the recited activities but rather claims, at a

high level, the online-dating system itself.” Dkt. No. 11 at 19 (quoting Apple, Inc. v. Ameranth,

Inc., 842 F.3d 1229, 1241 (Fed. Cir. 2016)). This is meritless at least because the claims do not

simply describe a result. See Finjan, Inc. v. Blue Coat Sys., Inc., 879 F.3d 1299, 1305 (Fed. Cir.

2018) (describing Ameranth decision as meaning only that “a result, even an innovative result, is

not itself patentable”). The claims provide a way of reaching the desired result with an improved

interface and user experience. As just one example, they recite a tangible improvement over search

and scroll-based matchmaking interfaces similar to the one disclosed in the Match.com

Application     See, e.g., Ex. D at Figs. 1E, 1F.        The ’023 Patent’s claims recite concrete

improvements to existing graphical user interfaces in dating applications. They are non-abstract

and thus are patent eligible.

                2.      Muzmatch Fails to Establish the Lack of an Inventive Concept.

         Even if the Court finds the claims are directed only to the idea of “looking through a stack

of profile cards one at a time and showing interest . . . by moving a card to the right,” and that this

idea is abstract, it should still deny Muzmatch’s motion. Even inventions “directed to” abstract

ideas are patent eligible if they contain limitations that “involve more than the performance of

well-understood, routine, and conventional activities previously known to the industry.” Aatrix I,

102237174.1
                                                - 19 -
          Case 6:21-cv-00147-ADA Document 15 Filed 04/22/21 Page 24 of 26




882 F.3d at 1128 (quotations and citations omitted). As discussed, the claims include limitations

beyond Muzmatch’s posited idea. The card must be “automatically removed,” not simply set to

the side. The preference must be detected by a “gesture” in the “right swiping direction”—which

the specification makes clear is associated with touch screens—not simply a move to the right.

Therefore, the claims improve existing interface technology.

         F.     Claim Constructions from Bumble Do Not Change the Analysis.

         Muzmatch argues “this Court held that several of these terms should be given their plain

and ordinary meaning, proving the non-inventive generic components within these claims,” and

that “such language underscores the lack of technological invention within the patent’s claims.”

Dkt. No. 11 at 11. But construing a claim term as its plain and ordinary meaning does not somehow

render the claim generic or show that it lacks any technological invention. To the contrary, the

Court stated that “[g]iving a term its plain and ordinary meaning does not leave the term devoid of

any meaning whatsoever. Instead, ‘the ‘ordinary meaning’ of a claim term is its meaning to the

ordinary artisan after reading the entire patent.’” Match Group, LLC v. Bumble Trading, Inc.,

6:18-cv-80, Dkt. No. 107. When read in light of the specification, the asserted claims are directed

to non-abstract, concrete improvements to existing graphical user interfaces in dating applications.

         G.     The Asserted Patents Do Not Present Any Significant Preemption Concerns.

         Muzmatch contends, in passing, the Asserted Patents “monopolize the economic practice

of matching people according to mutual attraction . . . .” Dkt. No. 11 at 1. To the contrary, the

claims recite a specific visual and physical improvement to a user interface. There remain many

other computer-based systems to connect people based on mutual attraction, e.g., scroll-based,

grid-based, card-based using buttons, non-dragging-gesture-based, etc. Tinder invented a specific

matchmaking system and interface. The patent system is designed to reward such innovations.



102237174.1
                                               - 20 -
          Case 6:21-cv-00147-ADA Document 15 Filed 04/22/21 Page 25 of 26




III.     CONCLUSION

         In view of the foregoing, the Court should deny Muzmatch’s motion.

                                             Respectfully submitted,
Date: April 22, 2021
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102237174.1
                                             - 21 -
          Case 6:21-cv-00147-ADA Document 15 Filed 04/22/21 Page 26 of 26




                                CERTIFICATE OF SERVICE

         The undersigned hereby certifies that on April 22, 2021, all counsel of record who are

deemed to have consented to electronic service are being served with a copy of this document via

the Court’s CM/ECF system in accordance with the Federal Rules of Civil Procedure.

                                                      /s/ Robert Greeson
                                                          Robert Greeson




102237174.1
                                             - 22 -
